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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION
  ____________________________________
                                         )
  STATE OF ARIZONA, et al.,              )
                                         )
                            Plaintiffs,  )
                                         )
              v.                         )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                         )
  CENTERS FOR DISEASE CONTROL            )
  & PREVENTION, et al.,                  )
                                         )
                            Defendants.  )
  _____________________________________)

                                     NOTICE TO THE COURT
          The Court has indicated that it intends to issue a ruling on Plaintiffs’ Motion for Preliminary

  Injunction prior to the expiration of the Temporary Restraining Order on May 23, 2022. Because

  issuance of a decision by Friday, May 20, 2022 would help to avoid uncertainty that could pose

  operational challenges, Defendants respectfully request that, if possible, the Court endeavor to issue

  a decision by that date.



  Dated: May 18, 2022                                    Respectfully submitted,

                                                         BRIAN M. BOYNTON
                                                         Principal Deputy Assistant Attorney General
                                                         U.S. Department of Justice, Civil Division

                                                         JEAN LIN
                                                         Special Litigation Counsel (NY #4074530)

                                                         /s/ John Robinson
                                                         JONATHAN D. KOSSAK (DC #991478)
                                                         JOHN ROBINSON (DC #1044072)
                                                         JOSEPH J. DEMOTT (VA #93981)
                                                         Trial Attorneys
                                                         1100 L St. N.W.
                                                         Washington, DC 20530
                                                         U.S. Department of Justice, Civil Division
                                                         Federal Programs Branch
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                                          (202) 616-8489
                                          Jean.lin@usdoj.gov
                                          Joseph.DeMott@usdoj.gov
                                          Jonathan.kossak@usdoj.gov
                                          John.j.robinson@usdoj.gov

                                          Attorneys for Defendants
